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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                                  )
  SHARON NIXON-CRENSHAW,                          )   Civil Action No:
  Derivatively on Behalf of DYCOM                 )
  INDUSTRIES, INC.,                               )
                                                  )   VERIFIED SHAREHOLDER
                   Plaintiff,                     )   AMENDED DERIVATIVE
                                                  )   COMPLAINT
         vs.                                      )
                                                  )
  STEPHEN C. COLEY, DWIGHT B. DUKE,               )
  EITAN GERTEL, ANDERS GUSTAFSSON,                )   DEMAND FOR JURY TRIAL
  PATRICIA L. HIGGINS, STEVEN E.                  )
  NIELSON, PETER T. PRUITT, JR.,                  )
  RICHARD K. SYKES, LAURIE J.                     )
  THOMSEN, CHARLES B. COE,                        )
              Defendants,                         )
                                                  )
         and,                                     )
                                                  )
  DYCOM INDUSTRIES, INC.,                         )
                                                  )
                   Nominal Defendant.             )
                                                  )
                                                  )

         Plaintiff Sharon Nixon-Crenshaw (“Plaintiff”), by and through her undersigned counsel,
  derivatively on behalf of Nominal Defendant Dycom Industries, Inc. (“Dycom” or the
  “Company”), submits this Verified Shareholder Derivative Complaint (the “Complaint”).
  Plaintiff’s allegations are based upon her personal knowledge as to herself and her own acts, and
  upon information and belief, developed from the investigation and analysis by Plaintiff’s
  counsel, including a review of publicly available information, including filings by Dycom with
  the U.S. Securities and Exchange Commission (“SEC”), press releases, news reports, analyst
  reports, investor conference transcripts, publicly available filings in lawsuits, and matters of
  public record.




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                                     NATURE OF THE ACTION
         1.      This is a shareholder derivative action brought in the right, and for the benefit, of
  Dycom against certain of its officers and directors seeking to remedy Defendants’ violations of
  state and federal law that have occurred from November 20, 2017 through the present (the
  “Relevant Period”) and have caused substantial harm to Dycom.
                                   JURSIDICTION AND VENUE
         2.      Pursuant to 28 U.S.C. § 1331 and section 27 of the Securities Exchange Act of
  1934 (the “Exchange Act”), this Court has jurisdiction over the claims asserted herein for
  violations of sections 10(b) and 14(a) of the Exchange Act and SEC Rule 14a-9 promulgated
  thereunder. This Court has supplemental jurisdiction over the remaining claims under 28 U.S.C.
  § 1367.
         3.      This Court has jurisdiction over each defendant named herein because each
  defendant is either a corporation that conducts business in and maintains operations in this
  District or is an individual who has sufficient minimum contacts with this District to render the
  exercise of jurisdiction by the District courts permissible under traditional notions of fair play
  and substantial justice.
         4.      Venue is proper in this Court in accordance with 28 U.S.C. § 1391 because: (i)
  Dycom maintains its principal place of business in this District; (ii) one or more of the
  defendants either resides in or maintains executive offices in this District; (iii) a substantial
  portion of the transactions and wrongs complained of herein, including Defendants’ primary
  participation in the wrongful acts detailed herein, and aiding and abetting and conspiracy in
  violation of fiduciary duties owed to Dycom, occurred in this District; and (iv) Defendants have
  received substantial compensation in this District by doing business here and engaging in
  numerous activities that had an effect in this District.
                                               PARTIES
  Plaintiff
         5.      Plaintiff Sharon Nixon-Crenshaw (“Plaintiff”) is a current owner of Dycom
  stock and has held the stock during the time of Defendants’ continuous wrongful course of


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  conduct alleged herein.    Plaintiff will fairly and adequately represent the interests of the
  shareholders in enforcing the rights of the Company.
  Nominal Defendant
          6.    Nominal Defendant Dycom is incorporated in Florida and maintains its principal
  offices located at 11780 US Highway 1, Suite 600, Palm Beach Gardens, FL 33408. Dycom’s
  common stock trades on the New York Stock Exchange (“NYSE”) under the ticker symbol
  “DY.”
  Present Director Defendants
          7.    Defendant Stephen C. Coley (“Coley”) has served as a member of the Board
  since 2003. As stated in the Company’s Form DEF 14A filed with the SEC on April 12, 2018
  (the “2018 Proxy Statement”), Coley is Dycom’s Lead Non-Management Director, Chairman of
  its Corporate Governance Committee, and a member of its Audit Committee and Executive
  Committee. As of April 2, 2018, Defendant Coley beneficially owned 97,000 shares of the
  Company common stock.
          8.    Defendant Dwight B. Duke (“Duke”) has served as a member of the Board since
  2011. As stated in the Company’s 2018 Proxy Statement, Duke is Chairman of Dycom’s
  Compensation Committee and is a member of its Corporate Governance Committee. As of April
  2, 2018, Defendant Duke beneficially owned 28,038 shares of the Company common stock.
          9.    Defendant Eitan Gertel (“Gertel”) has served as a member of the Board since
  2016. As stated in the Company’s 2018 Proxy Statement, Gertel is a member of Dycom’s Audit
  Committee, Compensation Committee, and Finance Committee. As of April 2, 2018, Defendant
  Gertel beneficially owned 2,108 shares of the Company common stock.
          10.   Defendant Anders Gustafsson (“Gustafsson”) has served as a member of the
  Board since 2013. As stated in the Company’s 2018 Proxy Statement, Gustafsson is a member
  of Dycom’s Corporate Governance Committee, Executive Committee, and Finance Committee.
  As of April 2, 2018, Defendant Gustafsson beneficially owned 12,223 shares of the Company
  common stock.




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         11.     Defendant Patricia L. Higgins (“Higgins”) has served as a member of the Board
  since 2008. As stated in the Company’s 2018 Proxy Statement, Higgins is Chairperson of
  Dycom’s Audit Committee, and is a member of its Corporate Governance Committee and
  Finance Committee. As of April 2, 2018, Defendant Higgins beneficially owned 41,053 shares
  of the Company common stock.
         12.     Defendant Steven E. Nielson (“Nielson”) has served as a member of the Board
  since 1996 and is its Chairman of the Board. As stated in the Company’s 2018 Proxy Statement,
  “Mr. Nielsen has been the President and Chief Executive Officer of the Company since March
  1999; President and Chief Operating Officer from August 1996 to March 1999; and Vice
  President from February 1996 to August 1996.” As also stated in the Company’s 2018 Proxy
  Statement, Nielson is the Chairman of Dycom’s Executive Committee. As of April 2, 2018,
  Defendant Nielson beneficially owned 1,016,985 shares of the Company common stock, which
  represented 3.26% of its outstanding shares on that date.
         13.     Defendant Peter T. Pruitt, Jr. (“Pruitt”) has served as a member of the Board
  since his appointment effective on November 19, 2018. As stated in Dycom’s Form 8-K filed
  with the SEC on November 20, 2018, “[t]he Board of Directors has not made a determination as
  to whether Mr. Pruitt will be named to any committees of the Board of Directors.” Dycom also
  represents in this Form 8-k that “Mr. Pruitt is not a party to any arrangement or understanding
  regarding his appointment as an officer and does not have any family relationship with any of the
  Company’s executive officers or directors. Mr. Pruitt is not a party to any transaction with the
  Company that would be required to be disclosed pursuant to Item 404(a) of Regulation S-K.”
         14.     Defendant Richard K. Sykes (“Sykes”) has served as a member of the Board
  since 2018. As stated in Dycom’s 2018 Proxy Statement, “Mr. Sykes was appointed to the
  Board of Directors of the Company in March 2018, for a term to last until the Company’s 2018
  Annual Meeting of Shareholders.”
         15.     Defendant Laurie J. Thomsen (“Thomsen”) has served as a member of the Board
  since 2015. As stated in the Company’s 2018 Proxy Statement, Thomsen is the Chairperson of
  Dycom’s Finance Committee, and is a member of its Audit Committee and Compensation


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  Committee. As of April 2, 2018, Defendant Thomsen beneficially owned 3,466 shares of the
  Company common stock.
  Former Director Defendant
         16.     Defendant Charles B. Coe (“Coe”) served as a member of the Board until
  November 21, 2017. As stated in the Company’s Form DEF 14A filed with the SEC on April
  12, 2018 (the “2017 Proxy Statement”), “Charles B. Coe, a director whose term also expires at
  the Annual Meeting, has reached the mandatory retirement age for Board members under the
  Company’s Amended and Restated By-laws and will therefore be deemed to have resigned at the
  expiration of his current term.” As also stated in the Company’s 2017 Proxy Statement, Coe was
  the Chairman of Dycom’s Finance Committee, and was a member of its Audit Committee and
  Compensation Committee.
         17.     Defendants Coley, Duke, Gertel, Gustafsson, Higgins, Nielson, Pruitt, Sykes, and
  Thomsen are herein referred to as the “Present Director Defendants”. The Present Director
  Defendants together with Defendant Coe are herein collectively referred to as the “Director
  Defendants”.
                            DYCOM’S CORPORATE GOVERNANCE
         18.     As members of Dycom’s Board, the Director Defendants were held to the highest
  standards of honesty and integrity and charged with overseeing the Company’s business
  practices and policies and assuring the integrity of its financial and business records.
         19.     The conduct of the Director Defendants complained of herein involves a knowing
  and culpable violation of their obligations as directors and officers of Dycom, the absence of
  good faith on their part, and a reckless disregard for their duties to the Company and its investors
  that the Director Defendants were aware posed a risk of serious injury to the Company.
                          DUTIES OF THE DIRECTOR DEFENDANTS
         20.     By reason of their positions as officers and/or directors of the Company, and
  because of their ability to control the business and corporate affairs of Dycom, the Director
  Defendants owed Dycom and its investors the fiduciary obligations of trust, loyalty, and good
  faith. The obligations required the Director Defendants to use their utmost abilities to control


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  and manage Dycom in an honest and lawful manner. The Director Defendants were and are
  required to act in furtherance of the best interests of Dycom and its investors.
         21.     Each director of the Company owes to Dycom and its investors the fiduciary duty
  to exercise loyalty, good faith, and diligence in the administration of the affairs of the Company
  and in the use and preservation of its property and assets. In addition, as officers and/or directors
  of a publicly held company, the Director Defendants had a duty to promptly disseminate accurate
  and truthful information regarding the Company’s operations, finances, and financial condition,
  as well as present and future business prospects, so that the market price of the Company’s stock
  would be based on truthful and accurate information.
         22.     To discharge their duties, the officers and directors of Dycom were required to
  exercise reasonable and prudent supervision over the management, policies, practices, and
  controls of the affairs of the Company. By virtue of such duties, the officers and directors of
  Dycom were required to, among other things:
                 (a)       ensure that the Company complied with its legal obligations and
                 requirements, including acting only within the scope of its legal authority and
                 disseminating truthful and accurate statements to the SEC and the investing
                 public;
                 (b)       conduct the affairs of the Company in an efficient, businesslike manner so
                 as to make it possible to provide the highest quality performance of its business,
                 to avoid wasting the Company’s assets, and to maximize the value of the
                 Company’s stock;
                 (c)       properly and accurately guide investors and analysts as to the true
                 financial condition of the Company at any given time, including making accurate
                 statements about the Company’s business prospects, and ensuring that the
                 Company maintained an adequate system of financial controls such that the
                 Company’s financial reporting would be true and accurate at all times;
                 (d)       remain informed as to how Dycom conducted its operations, and, upon
                 receipt of notice or information of imprudent or unsound conditions or practices,


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                 make reasonable inquiries in connection therewith, take steps to correct such
                 conditions or practices, and make such disclosures as necessary to comply with
                 federal and state securities laws;
                 (e)     ensure that the Company was operated in a diligent, honest, and prudent
                 manner in compliance with all applicable federal, state and local laws, and rules
                 and regulations; and
                 (f)     ensure that all decisions were the product of independent business
                 judgment and not the result of outside influences or entrenchment motives.
         23.     Each Director Defendant, by virtue of his or her position as a director and/or
  officer, owed to the Company and to its shareholders the fiduciary duties of loyalty, good faith,
  and the exercise of due care and diligence in the management and administration of the affairs of
  the Company, as well as in the use and preservation of its property and assets. The conduct of
  the Director Defendants complained of herein involves a knowing and culpable violation of their
  obligations as directors and officers of Dycom, the absence of good faith on their part, and a
  reckless disregard for their duties to the Company and its shareholders that the Director
  Defendants were aware, or should have been aware, posed a risk of serious injury to the
  Company.
         24.     The Director Defendants breached their duties of loyalty and good faith by
  causing the Company to issue false and misleading statements concerning the business results
  and prospects of the Company. As a result, Dycom has expended, and will continue to expend,
  significant sums of money related to investigations and lawsuits.
      BACKGOUND AND DEFENDANTS FALSE AND MISLEADING STATEMENTS
         25.     Dycom provides specialty contracting services through subsidiaries throughout
  the United States and in Canada. Dycom’s services include program management, engineering,
  construction, maintenance, and installation services for telecommunications providers,
  underground facility locating services for various utilities, including telecommunications
  providers, and other construction and maintenance services for electric and gas utilities.




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         26.     On November 20, 2017 Dycom issued a press release announcing the Company’s
  financial and operating results for the first fiscal quarter ended October 28, 2017 (“Q1 2018
  Press Release”). This press release was also attached as an exhibit to Dycom’s Form 8-K filed
  with the SEC on the same date. In this press release, the Company stated in relevant part:

         Palm Beach Gardens, Florida, November 20, 2017 - Dycom Industries, Inc.
         (NYSE: DY) announced today its results for the fiscal quarter ended October 28,
         2017. This announcement is one day earlier than previously scheduled and the
         conference call to review the Company’s results is now scheduled for Monday,
         November 20, 2017 at 9:00 a.m. (ET). Specific dial-in and replay information
         appears below.

         The schedule change is a result of the Company’s preliminary determination that
         certain documents containing financial information were subject to unauthorized
         access after the market closed on Friday, November 17, 2017. The Company’s
         investigation is ongoing and law enforcement authorities have been notified.

         •      Contract revenues of $756.2 million for the quarter ended October 28,
         2017, compared to $799.2 million for the quarter ended October 29, 2016.
         Contract revenues for the quarter ended October 28, 2017 decreased 8.4% on an
         organic basis after excluding $8.6 million of contract revenues from an acquired
         business that was not owned during the prior year quarter and $15.5 million of
         contract revenues from storm restoration services in the current period.

         •      Non-GAAP Adjusted EBITDA of $97.6 million, or 12.9% of contract
         revenues, for the quarter ended October 28, 2017, compared to $129.2 million, or
         16.2% of contract revenues, for the quarter ended October 29, 2016.

         •       On a GAAP basis, net income was $28.8 million, or $0.90 per common
         share diluted, for the quarter ended October 28, 2017, compared to net income of
         $51.0 million, or $1.59 per common share diluted, for the quarter ended October
         29, 2016. Non-GAAP Adjusted Net Income was $31.6 million, or $0.99 per
         common share diluted, for the quarter ended October 28, 2017, compared to Non-
         GAAP Adjusted Net Income of $53.7 million, or $1.67 per common share diluted,
         for the quarter ended October 29, 2016. Non-GAAP Adjusted Net Income for the
         quarters ended October 28, 2017 and October 29, 2016 excludes $4.5 million and
         $4.3 million, respectively, of pre-tax interest expense incurred for non-cash
         amortization of the debt discount associated with the Company’s 0.75%
         convertible senior notes due September 2021.

         Net income and Non-GAAP Adjusted Net Income for the quarter ended October
         28, 2017 include an income tax benefit of approximately $0.9 million for the tax
         effects of certain share-based award activities as a result of the Company’s
         adoption of Accounting Standards Update No. 2016-09, Compensation – Stock

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          Compensation (Topic 718): Improvements to Employee Share-Based Payment
          Accounting (“ASU 2016-09”). This tax benefit would have been recorded to
          additional paid-in-capital under the previous accounting standard.

          The Company also announced its outlook for the fiscal quarter ending January 27,
          2018. The Company currently expects total contract revenues for the fiscal quarter
          ending January 27, 2018 to range from $645 million to $675 million. On a GAAP
          basis, diluted earnings per common share for the fiscal quarter ending January 27,
          2018 is expected to range from $0.15 to $0.27. Non-GAAP Adjusted Diluted
          Earnings per Common Share is expected to range from $0.24 to $0.36. Non-
          GAAP Adjusted Diluted Earnings per Common Share guidance excludes $4.6
          million of pre-tax interest expense for non-cash amortization of debt discount, or
          $0.09 per common share diluted on an after-tax basis. A reconciliation of Non-
          GAAP Adjusted Diluted Earnings per Common Share guidance provided for the
          fiscal quarter ending January 27, 2018, along with reconciliations of other Non-
          GAAP measures, is included within the press release tables.

          27.      During a conference call discussing the Company’s financial and operating results
  for the first fiscal quarter ended October 28, 2017 (“Q1 2018 Conf. Call”), Nielsen stated in
  relevant part:

          Revenue was $756.2 million, a decrease of 5.4%. Organic revenue, excluding
          $15.5 million of storm restoration services in the quarter declined 8.4%. This
          quarter reflected an increase in demand from three key customers as we deployed
          1 gigabit wireline networks and grew core market share, offset by near-term
          moderation by a large customer. Gross margins were 20.55% of revenue,
          reflecting solid operating performance, offset by the impacts of the decline in
          revenue. General and administrative expenses were 8.54%.

                                            ***
          Engineering and construction activity is expected to increase throughout the
          balance of our second quarter and accelerate into calendar 2018. Customers
          are continuing to reveal with specificity new multi-year initiatives that are being
          planned and managed on a market-by-market basis.

          Our ability to provide integrated planning, engineering and design, procurement
          and construction and maintenance services is of particular value to several
          industry participants.

          [Emphasis added]

          28.      Regarding the timing of the permitting for the new large projects, Nielsen stated
  in relevant part:


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          As with prior initiations of large-scale network deployments, we expect some
          normal timing volatility and customer spending modulations as network
          deployment strategies evolve and tactical considerations, primarily permitting
          impact timing.

          29.     During the Q&A session of that call, an analyst inquired about permitting.
  Nielsen immediately assured investors of the speed of the permitting process. In this exchange,
  each party stated in relevant part:

          Stifel, Nicolaus & Company, Incorporated, Research Division - VP and Analyst

          Okay great, thanks. And then second, you’ve mentioned some permitting hold
          ups, is this just a function of the scale of some of these capital plans that your
          customers -- or is there something else specific going on?

          Steven E. Nielsen - Dycom Industries, Inc. - Chairman, President & CEO

          No. It’s exactly your point, Noelle, is that when you show up at a number of cities
          and you come with large programs, it always takes the permitting authorities a
          little bit of time to gear up and we’re working aggressively with our customers to
          help them gear up. It is not anything unusual, and unlike other adjacent spaces
          where you have larger projects, these are typically local municipal permits,
          they’re not federal permits. We’re not talking about environmental studies or
          other types of permitting. And, in fact, just recently, the FCC passed a rule that
          actually will speed around small cells, some of the permitting by removing some
          local reviews that were already occurring. So I think it’ll get better, it always
          does. But at this stage in these projects, it’s always something to watch.
          [Emphasis added].
          30.     During the call, Nielsen also disclosed an increase in headcount from 13,236 for
  the fiscal quarter ended January 28, 2017 to 14,393. During the Q&A session of the call, an
  analyst asked about the reasons for this headcount increase. In this exchange, each party stated
  in relevant part:

          Wells Fargo Securities, LLC, Research Division - MD and Senior Analyst

          Two, if I may. Just on the, excuse me, employee count, it did go up a bit, which
          seems surprising. I mean, I assume that’s just part of the absorption comments
          that you feel very comfortable hiring more heads, given the line of sight you see
          coming down the pike. I just wanted to confirm that.



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                                           *   *    *

          Steven E. Nielsen - Dycom Industries, Inc. - Chairman, President & CEO

          Sure. So with respect to the employee count, as we’ve talked about on the last
          call, we certainly are adding engineers, planners, designers, project managers.
          We’re setting up warehouse locations to support these new project initiations.
          And the core business, is busy. I mean you look at the housing numbers, there
          are other things that are driving that headcount, but we’re getting ready. Well,
          we’re not getting ready, we’re doing the engineering work we need to get
          started. [Emphasis added].
          31.     Regarding the impact of the new large projects on the gross margin, Dycom’s
  Senior Vice President and Chief Financial Officer (“CFO”) H. Andrew DeFerrari (“DeFerrari”)
  stated in relevant part:

          We expect gross margin percentage to be in line or slightly better compared to the
          April 2017 quarterly margin, reflecting the expected mix of work activity and
          improving performance as services for large customer programs begin to
          accelerate.
          32.     During the Q&A session of the call and responding to a question about gross
  margin guidance, Defendant Nielsen stated in relevant part:
          Thompson, Davis & Company, Inc., Research Division - Director of Research

          Steve, I wanted to stay with the April guidance. You’ve guided to gross margins
          flat to up, year-over-year. I’m just curious, what gives you the confidence that
          gross margins will get back to flat, given the fact there will still be early in some
          of these large programs?

          Steven E. Nielsen - Dycom Industries, Inc. - Chairman, President & CEO

          So Adam, if you remember, Drew’s comments and Drew can amplify on this, are
          talking about absorption, right? We are incurring some costs in the January
          quarter that we think we get the benefit of as revenue returns, at least in line
          and possibly growth. [Emphasis added].
          33.     On this news, the price of the Company’s common stock increased $12.82 over
  the course of three trading days from a close on November 17, 2017 at $90.04 per share of
  Dycom common stock, to a close on November 22, 2017 at $102.86 per share of Dycom
  common stock, a rise of approximately 14.24%.




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         34.     The statements in paragraphs above were materially false and/or misleading

  because they misrepresented and failed to disclose the following adverse facts pertaining to the

  Company’s business, operations, and prospects, which were known to the Director Defendants or

  recklessly disregarded by them. Specifically, the Director Defendants failed to disclose that: (i)

  Dycom’s large projects were highly dependent on permitting and tactical considerations, (ii)

  Dycom was facing great uncertainties related to permitting issues; (iii) said uncertainties would

  expose Dycom to near-term margin pressure and absorption issues, and (iv) as a result of the

  foregoing, Defendants’ statements about Dycom’s business, operations, and prospects, were false

  and misleading and/or lacked a reasonable basis.

                              THE TRUTH BEGINS TO EMERGE

         35.     On May 22, 2018, the Company issued a press release announcing the Company’s

  financial and operating results for the first fiscal quarter ended April 28, 2018 (“Q1 2019 Press

  Release”) and revising the guidance for the fiscal year 2019. This press release was also

  attached as an exhibit to Dycom’s Form 8-K filed with the SEC on the same date. In this press

  release, the Company stated in relevant part:

         Outlook

         The Company is revising its financial guidance for the 2019 fiscal year ending
         January 26, 2019 to reflect the actual results for the quarter ended April 28, 2018
         and the anticipated timing of activity on large customer programs and the related
         impacts on revenues and margins. The Company’s previous guidance and its
         current expectations for fiscal 2019 are as follows:

                                                         Previous           Revised
                                                         Guidance          Guidance
                                                         Fiscal 2019*      Fiscal 2019
                                                         $3.30 - $3.50     $3.23 - $3.43
         Contract revenues                               billion           billion
         Diluted Earnings per Common Share - GAAP             $4.78 - $5.70    $3.81 - $4.70



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         Non-GAAP Adjusted Diluted Earnings per
         Common Share                              $5.22 - $6.14  $4.26 - $5.15
         Non-GAAP Adjusted EBITDA % of revenue 13.6% - 14.1%     12.4% - 12.9%

         *      For a reconciliation of the prior Fiscal 2019 Diluted Earnings per
         Common Share guidance to the prior Non-GAAP Adjusted Diluted Earnings per
         Common Share guidance and a reconciliation of the prior Fiscal 2019 Net income
         guidance to the prior Non-GAAP Adjusted.

         36.       During a conference call to discuss the Company’s financial and operating results

  for the first fiscal quarter ended April 28, 2018 (“Q1 2019 Conf. Call”), the Company’s CFO,

  DeFerrari, stated in relevant part:

         Adjusted EBITDA was $73.7 million in Q1 2019, which was at 10.1% of
         revenue. Gross margins were at 18% and compared to the April quarter last year
         were impacted by prolonged winter weather conditions and costs incurred on
         large customer programs.

         Gross margins were approximately 100 basis points below our expectations for
         the quarter. This margin pressure resulted from the under-absorption of labor
         and field costs as large customer programs mobilized. We expect margins to
         continue to be impacted in the near term with the pressure dissipating as we
         gain greater momentum on these large programs. Accordingly, our outlook has
         been lowered for the full fiscal year from our prior expectations to reflect the
         expected margin pressure. [Emphasis added].
         37.       During the Q&A session of the call, an analyst inquired about the disappointing
  margins. Nielsen then disclosed that the Company did not have enough work in hand to absorb
  the costs it had already incurred associated with the large projects mainly because Dycom was
  facing great uncertainties related to permitting issues. In this exchange, each party stated in
  relevant part:
         Analyst, Stephens, Inc.
         So, Steve, obviously, the big question on everyone’s mind this morning is the
         pressure on margin and a little more specifics around what’s causing it. And it
         sounds like you’re still expecting a big ramp in the business. The timing has
         maybe changed a little bit. But I think what we’re all trying to get at is a little
         more specific around the near-term margin pressure and do you believe you can
         still get this business back to a mid-teens EBITDA margin once things ramp up
         and you’re better absorbing those costs.




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         Steven E. Nielsen, Chairman, President & Chief Executive Officer, Dycom
         Industries, Inc.

         So, to the second question, Matt, yes. I mean, we have not changed our view on
         mid-teens EBITDA. With respect to the pressure on the business, we have a
         number of large programs, some of which require extensive permitting and other
         governmental authorities. While we’ve been through this before, the timing of
         when you build up a cadence in that process that will allow you to efficiently
         deploy resources, it’s hard to forecast. I mean, we understand that and we’re
         disappointed that we didn’t get it as right as we would have liked last quarter. But
         that doesn’t change that the projects are there, that we’re confident in our ability
         to execute. We’ve just got to get enough work in hand so that we can both
         absorb the fixed cost around warehousing and supervision and general
         management as well as be efficient in the field as we get more permitted backlog
         that we can really go to work on. And it’s getting better every day. It’s just not
         getting better as quickly as we would have hoped 91 days ago.

         Analyst, Stephens, Inc.

         So, is this customer shifting the timing of work or is it simply the permitting
         process?

         Steven E. Nielsen, Chairman, President & Chief Executive Officer, Dycom
         Industries, Inc.

         We’re all working together with our customers, with the permitting authorities.
         These are large programs. In fact, I think they are substantial programs and that
         means there is a substantial buildup in activities from the permitting authorities
         and it’s taking a little time, but it’s getting better. [Emphasis added].

         38.     Later during the call, Nielsen further disclosed full knowledge of these
  uncertainties and its impact on permitting issues because they were “always around starting the
  process.” Nielsen added that the Company “had similar experiences with large programs 15
  years ago” and was “still at them.”
         39.     On this news, the price of the Company’s common stock declined $23.56 from a
  close on May 21, 2018 at $116.20 per share of Dycom common stock, to a close on May 22,
  2018 at $92.64 per share of Dycom common stock, a drop of approximately 20.27%.
         40.     On August 13, 2018 before the market open, Dycom issued a press release
  revising the Company’s guidance for the financial and operating results for the second fiscal
  quarter and six months ended July 28, 2018 and announcing preliminary revenues and results for


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  the second quarter below the previous guidance (“Q2 2019 Guidance Press Release”). This press
  release was also attached as an exhibit to Dycom’s Form 8-K filed with the SEC on the same
  date.
          41.    During a conference call to discuss the preliminary results (“Q2 2019 Guidance
  Conf. Call”), Nielsen stated relevant part:

          Steven E. Nielsen, Chairman, President & Chief Executive Officer, Dycom
          Industries, Inc.

          This morning, we reported preliminary results for the second quarter that were
          below our prior expectations. Revenue is expected to be approximately $799.5
          million with Adjusted Diluted Earnings per Share, expected to range from a $1.05
          to $1.08. This range includes approximately $0.9 million of incremental tax
          benefits. These preliminary results were impacted by large scale deployments
          that were slower than expected during the quarter, due to customer timing and
          tactical considerations and margins that were pressured from under-absorption
          of labor and field costs to the lower revenue level. [Emphasis added].

          42.    When asked during the Q&A session of the call about permitting and absorption
  issues, Nielsen disclosed that the large projects were not ramping-up as expected due to
  uncertainties related to permitting issues and that Dycom’s core business was in reality not as
  busy as previously disclosed. In this exchange, each party stated in relevant part:
          Analyst, B. Riley FBR, Inc.
          Steve, your comment with regards to tactical considerations primarily permitting,
          can you expand upon that just a little bit as it relates to how this tactical
          consideration due to permitting maybe is different than maybe past FiOS builds or
          fiber builds in the mid-2000s?

          Steven E. Nielsen, Chairman, President & Chief Executive Officer, Dycom
          Industries, Inc.

          Yeah, I think Alex as we said in May, these are big programs, they're ramping up
          broadly, they're subject to greater uncertainties and those are the uncertainties
          that impacted the second quarter. I mean they will resolve, but there are
          uncertainties because of the size of the programs.

          Analyst, B. Riley FBR, Inc.

          And then as it relates to cost pressures in the short-term, can you expand upon that
          a little bit too? And maybe address sort of your thinking on head count in the

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          short-term, do you carry head count in anticipation of the big backlog and how
          that could come through next year? Just a little bit more detail would be helpful?

          Steven E. Nielsen, Chairman, President & Chief Executive Officer, Dycom
          Industries, Inc.

          Sure. So, I think as we said in the comments, it's really an absorption question. I
          mean we have to have the staff in place to support the revenue that's embedded
          in the guidance and we do, but we're not as busy as we had expected to be and
          so that created an absorption question. But because the work is there we have to
          have the people. [Emphasis added].
          43.    On this news, the price of the Company’s common stock declined $21.62 from a
  close on August 10, 2018 at $89.71 per share of Dycom common stock, to a close on August 13,
  2018 at $68.09 per share of Dycom common stock, a drop of approximately 24.10%.
                  DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS
          44.    Plaintiff brings this action derivatively in the right and for the benefit of the
  Company to redress injuries suffered and to be suffered as a direct and proximate result of the
  breaches of fiduciary duties and gross mismanagement by the Director Defendants.
          45.    Plaintiff will adequately and fairly represent the interests of Dycom in enforcing
  and prosecuting its rights and has retained counsel competent and experienced in derivative
  litigation.
          46.    Plaintiff is a current owner of the Company stock and has continuously been an
  owner of Company stock during all times relevant to the Director Defendants’ wrongful course
  of conduct alleged herein. Plaintiff understands her obligation to hold stock throughout the
  duration of this action and is prepared to do so.
          47.    During the illegal and wrongful course of conduct at the Company and through
  the present, the Board consisted of the Director Defendants (except Defendant Pruitt, who joined
  the Board in November 2018). Because of the facts set forth throughout this Complaint, demand
  on the Company Board to institute this action is not necessary because such a demand would
  have been a futile and useless act.
          48.    The Company Board is currently comprised of nine (9) members – Coley, Duke,
  Gertel, Gustafsson, Higgins, Nielson, Pruitt, Sykes, and Thomsen. Thus, Plaintiff is required to



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  show that a majority of the Director Defendants, i.e., five (5), cannot exercise independent
  objective judgment about whether to bring this action or whether to vigorously prosecute this
  action.
            49.   The Director Defendants either knew or should have known of the false and
  misleading statements that were issued on the Company’s behalf and took no steps in a good
  faith effort to prevent or remedy that situation.
            50.   The Director Defendants (or at the very least a majority of them) cannot exercise
  independent objective judgment about whether to bring this action or whether to vigorously
  prosecute this action. For the reasons that follow, and for reasons detailed elsewhere in this
  complaint, Plaintiff has not made (and should be excused from making) a pre-filing demand on
  the Board to initiate this action because making a demand would be a futile and useless act.
            51.   Each of the Director Defendants approved and/or permitted the wrongs alleged
  herein to have occurred and participated in efforts to conceal or disguise those wrongs from the
  Company’s stockholders or recklessly and/or with gross negligence disregarded the wrongs
  complained of herein and are therefore not disinterested parties.
            52.   Each of the Director Defendants authorized and/or permitted the false statements
  to be disseminated directly to the public and made available and distributed to shareholders,
  authorized and/or permitted the issuance of various false and misleading statements, and are
  principal beneficiaries of the wrongdoing alleged herein, and thus, could not fairly and fully
  prosecute such a suit even if they instituted it.
            53.   Additionally, each of the Director Defendants received payments, benefits, stock
  options, and other emoluments by virtue of their membership on the Board and their control of
  the Company.
                  The Director Defendants Are Not Independent or Disinterested
  Defendant Nielson
            54.   Defendant Nielson is not disinterested or independent, and therefore, is incapable
  of considering demand because he (as its president and CEO) is an employee of the Company
  who derives substantially all his income from his employment with Dycom, making him not


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  independent. As such, Defendant Nielson cannot independently consider any demand to sue
  herself for breaching his fiduciary duties to Dycom, because that would expose him to liability
  and threaten his livelihood.
         55.     Defendant Nielson is also a defendant in the securities class action complaint
  entitled Tung v. Dycom Industries, Inc., et al., Case 9:18-cv-81448-RLR (S.D. Fla.) (“Securities
  Class Action”).
         56.     Further, Dycom acknowledged that Nielson is not independent in its 2018 Proxy
  Statement.
  Defendants Coley, Gertel, Higgins, and Thomsen
         57.     During the Relevant Period, Defendants Coley, Gertel, Higgins, and Thomsen
  served as members of the Audit Committee. Pursuant to the Company’s Audit Committee
  Charter, the members of the Audit Committee are responsible for, inter alia, reviewing Dycom’s
  financial statements, Management’s Discussion and Analysis, press releases, and assuring the
  adequacy and effectiveness of disclosure controls, ensure ethical compliance, and otherwise meet
  their responsibilities as set forth in the Audit Committee Charter.
         58.     Defendants Coley, Gertel, Higgins, and Thomsen breached their fiduciary duties
  of due care, loyalty, and good faith, because the Audit Committee, inter alia, allowed or
  permitted false and misleading statements to be disseminated in the Company’s SEC filings and
  other disclosures and, otherwise, failed to ensure that adequate internal controls were in place
  regarding the serious business reporting issues and deficiencies described above. Therefore,
  Defendants Coley, Gertel, Higgins, and Thomsen face a substantial likelihood of liability for
  their breach of fiduciary duties and any demand upon them is futile.
                                              COUNT I
                    Against the Director Defendants for Breach of Fiduciary Duty
         59.     Plaintiff incorporates by reference and realleges each and every allegation
  contained above, as though fully set forth herein.




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         60.     The Director Defendants owe the Company fiduciary obligations. By reason of
  their fiduciary relationships, the Director Defendants owed and owe the Company the highest
  obligation of good faith, fair dealing, loyalty, and due care.
         61.     The Director Defendants violated and breached their fiduciary duties of care,
  loyalty, reasonable inquiry, and good faith.
         62.     The Director Defendants engaged in a sustained and systematic failure to properly
  exercise their fiduciary duties. Among other things, the Director Defendants breached their
  fiduciary duties of loyalty and good faith by allowing the Company to improperly misrepresent
  the Company’s publicly reported business performance, as alleged herein. These actions could
  not have been a good faith exercise of prudent business judgment to protect and promote the
  Company’s corporate interests.
         63.     As a direct and proximate result of the Director Defendants’ failure to perform
  their fiduciary obligations, the Company has sustained significant damages. As a result of the
  misconduct alleged herein, the Director Defendants are liable to the Company.
         64.     As a direct and proximate result of the Director Defendants’ breach of their
  fiduciary duties, the Company has suffered damage, not only monetarily, but also to its corporate
  image and goodwill. Such damage includes, among other things, costs associated with defending
  securities lawsuits, severe damage to the share price of the Company, resulting in an increased
  cost of capital, and reputational harm.
                                               COUNT II
                 Against the Director Defendants for Waste of Corporate Assets
         65.     Plaintiff incorporates by reference and realleges each and every allegation
  contained above, as though fully set forth herein.
         66.     The wrongful conduct alleged regarding the issuance of false and misleading
  statements was continuous, connected, and on-going throughout the Relevant Period. It resulted
  in continuous, connected, and ongoing harm to the Company.
         67.     As a result of the misconduct described above, the Director Defendants wasted
  corporate assets by, inter alia: (i) paying excessive compensation and bonuses to certain of its


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  executive officers; (ii) awarding self-interested stock options to certain officers and directors;
  and (iii) incurring potentially millions of dollars of legal liability and/or legal costs to defend
  Defendants’ unlawful actions.
         68.      As a result of the waste of corporate assets, the Director Defendants are liable to
  the Company.
         69.      Plaintiff, on behalf of Dycom, has no adequate remedy at law.
                                            COUNT IV
                   Against the Director Defendants for Violations of Section 10(b)
                              of the Exchange Act and SEC Rule 10b-5
         70.      Plaintiff incorporates by reference and realleges each and every allegation
  contained above, as though fully set forth herein.
         71.      During the Relevant Period, the Director Defendants disseminated or approved
  public statements that misrepresented or failed to disclose that (a) Dycom’s large projects were
  highly dependent on permitting and tactical considerations, (b) Dycom was facing great
  uncertainties related to permitting issues; and (c) said uncertainties would expose Dycom to
  near-term margin pressure and absorption issues. Thus, the price of the Company’s shares was
  artificially inflated due to the deception of the Director Defendants.
         72.      As such, the Director Defendants caused the Company to violate section 10(b) of
  the Exchange Act and SEC Rule 10b-5 in that they:
                  (a)    employed devices, schemes, and artifices to defraud; and
                  (b)    made untrue statements of material facts or omitted to state material facts
                  necessary in order to make the statements made, in light of the circumstances
                  under which they were made, not misleading.
         73.      As a result of the Director Defendants’ misconduct, the Company is suffering
  litigation expense and reputational harm in the marketplace in violation of section 10(b) of the
  Exchange Act and SEC Rule 10b-5.
                                              COUNT V
                                   Against the Director Defendants
               for Violations of Section 14(a) of the Exchange Act and SEC Rule 14a-9


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         74.     Plaintiff incorporates by reference and realleges each and every allegation
  contained above, as though fully set forth herein.
         75.     SEC Rule 14a-9, promulgated pursuant to section 14(a) of the Exchange Act,
  provides that no proxy statement shall contain “any statement which, at the time and in the light
  of the circumstances under which it is made, is false or misleading with respect to any material
  fact, or which omits to state any material fact necessary in order to make the statements therein
  not false or misleading.” 17 C.F.R. § 240.14a-9. Specifically, the Company’s Proxy violated
  section 14(a) of the Exchange Act and SEC Rule 14a-9 because it included materially false and
  misleading information and failed to disclose (a) Dycom’s large projects were highly dependent
  on permitting and tactical considerations, (b) Dycom was facing great uncertainties related to
  permitting issues; (c) said uncertainties would expose Dycom to near-term margin pressure and
  absorption issues.; and (d) that as a result, the Company’s current business metrics and financial
  prospects were not as strong as it had led the market to believe during the Relevant Period.
         76.     In the exercise of reasonable care, the Director Defendants should have known
  that the statements contained in the Proxy were materially false and misleading.
         77.     The misrepresentations and omissions in the Proxy were material to Company
  stockholders in voting on the matters set forth for stockholder ratification in the Proxy. The
  Proxy was an essential link in the accomplishment of the continuation of these defendants’
  continued violation of their fiduciary duties.
         78.     The Company was damaged as a result of these defendants’ material
  misrepresentations and omissions in the Proxy.
                                       PRAYER FOR RELIEF
         WHEREFORE, Plaintiff prays for relief and judgment, as follows:
         (A)     Declaring that Plaintiff may maintain this action on behalf of the Company and
  that Plaintiff is an adequate representative of the Company;
         (B)     Finding the Director Defendants liable for breaching their fiduciary duties owed
  to the Company;




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         (C)     Directing the Director Defendants to take all necessary actions to reform and
  improve the Company’s corporate governance, risk management, and internal operating
  procedures to comply with applicable laws and to protect the Company and its stockholders from
  a repeat of the rampant wrongful conduct described herein;
         (D)     Awarding Plaintiff the costs and disbursements of this action, including
  attorneys’, accountants’, and experts’ fees; and
         (E)     Awarding such other and further relief as is just and equitable.
                                    JURY TRIAL DEMANDED
         Plaintiff hereby demands a trial by jury.
  Dated: December 17, 2018
                                               LAW OFFICES OF SCOTT EGLESTON, P.A.

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